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                        IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                     EASTERN DIVISON


UNITED STATES OF AMERICA


VS.                                                        CRIMINAL NO. 2:16-cr-7-KS-MTP


CHARLES BOLTON
LINDA BOLTON


                                            ORDER


       This cause is before the Court on the motion of Linda Bolton for leave to file under seal a
supplement to her renewed motion for a new trial [130]. In her motion she requests the Court to

allow her to supplement her motion by adding paragraphs 22, 23 and 24 from her presentence

report. The Court has access to the presentence report and supplementing the motion with copies

of said paragraphs is unnecessary and therefore the Court DENIES this motion.

       SO ORDERED, this the         9TH day of December, 2016.




                                               s/Keith Starrett_________________
                                             UNITED STATES DISTRICT JUDGE
